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                             UNITED STATES COURT OF APPEALS
                                 FOR THE TENTH CIRCUIT




              Plaintiff/Petitioner _
              Appellant/Appellee,
                                                                      No. 22-3183
         V.
                                                               Appellant's Opening Brief


              Defendant/Respondent _
                                                       /J/Jf'_auJAITJ ..$qr'/'l.tMcAl174
                                                             o/JE/\1£,./(;.   {5R..£if
                                                                                          L)
              Appellant/Appellee.


                                  NOTICE AND INSTRUCTIONS

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      your appellate issues and arguments to the c~rm is mtended to guide you in presenting
      pages may be attached. A short stateme         urt. I~you need more space, additional
      precede your argument. Citations to le nt of eac~ issue presented for review should
      should fully set forth all of the argumenf:::~thonty _may also be included. This brief
      connection with this case.                    a you wish the court to consider in


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   APPELLANT/PETITIONER'S OPENING BRIEF
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      4. Do you think the district court applied the wrong law? If so, what law do you
      want applied? ye,.11-fc LA"' -r r-M .Pty'f C.Jl'hl ~l)rJnr..oyP",Y ~'.r/6/l,Cfl/A,,,/'C 0
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      5. Did the district court incorrectly decide the facts? If so, what facts? ,4,{.L Ac-0 ·
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       6. Did the district court fail to consider important grounds for relief? If so, what
       grounds? r;;ls::,urtl)T foll /l.a.£t:.7? l'L'O~ ~,4£Qvt~--Y,-r=<»/t. Jle{fe f W":.~<E:"
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       7. Do you feel that there are any other reasons why the district court's judgment
       was wrong? If so, what? yt.-:f. f (:Vc::"'11At, /,oxJc..J .,::t)l.Cc.~ "1.17"1 c ,+,,,:::CL~A
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        9. Do you ttunk the court should hear oral argument in this case? If so, why?
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_ _ _ _..., ll23:Z£:L~..ll@v€n.lr1!efl¢~c.a .rf{,:!lL,t,. ~,f-ZZF"'IL/4/£17--WV 01.J O.r'tyJ
_ _ _ _,_ , 0 . o 1 , 1 . ~ ~ Cg;-.£1'£.~i.f:-~<ehJ/~C-ro                                                  '--""'-'-~ -...__ _
           co!l.£€"11          sPrru:;
                           (5('c..LJJ[).vv_& £.4:flJfTl./2--1'/~ FU-./Pl1Y:.r;.A:iP L,fe) t.:J:D_q ~ !..t"LO ~ _ / ' r/1/( <;
          /l<::~t?JJla,r ~ ~£He o~ D£rcov EJZY, ,tu/.J:t.l A'e.;;J!Z,,t-V t:Aft7? ?rJAA
- - - . ~C..i'€AfL ,!J.Ca'R..OC . l : ~ / / ~ ~ £££.1£Zl.L:J...t,(~(£~;Q_
                                                                        ------
      17~ e5_)_.(;M~ <?E. l).kfCgy~£~t:: ~CY,l,.r!,C.._,4..C..f.O~~~
                 ~~ U'['N'Jffl.efJZ~u G11 _:t:;o- f'MI,.f'T~ tA1i/2,~..6A'~tll!Yv.!L/J/J.l~ ~ ~
                                                                                              ---
                 ;~  72/c...k,lf,J/\.:Y-,.<.J..,,etu::;,r, &.oco.r-/r'IY ~CVl?,4 LCl,,,..P/;r. ,epou;-:~
                 -~'/lJ/ #<t:"',,,.✓,,£ €.P .:7u.q-..J:c0 ~ E/?"?~a~c ~/4#ctv6 477~c:~
                 -4~ //<!"/Y?e}2 /l.fi?~ 77lt~ f'Y-:r;-A V A t , t ! ~ @;Cvc G~~
                  y r ~~ /'u,..t.:/AY' /4<£c.y; d"C-.LN.'2/1.Y- c61!£CVtft-.r err..5/2;1-cx!//,J - ~?:)/
                  #5'0(£T,Eti"§). U E7{ {}o< N~ 3 o XJJ.£3££5J)-=L:o:t./ec_"'1 £,J:i [l---?:i) ~                        p_p.,--:-__
                 _<du/br- ~ a~cLac:4' Pe:~                   - ~     --L.Qc1 Y--L :7-?,,qJ s t&E/L go-_q_!.c,,.........!r_ _ __
                 . l f ~r ~       . cs~ll?,;x•.('VQ·,_.'ff!,/,/3~-//) ~ . & i r ,W fl.~'\l~,_f??k::C!'J;) ,O,Ay.r
                                          R.P.c: 0 ~ ~- ~?7.dre vc.-v;r-~v~ ~
                 , ~c.4.- ,.,-~ ~Je,.t.-v ,Ub          ..--1                                            r
     ,,ZO ?7-K G~~,Avl..C:;_(£~~ ~           ,/g:..!C._¥~.r- /o /6..,.,Lzz:/JC..£1U£::. (4?t)~
                                                                                             _,£L,t2<XY""'- - -
_ _ _ _,....  o, . V;t;;bcc: : : r ~~~w.ra;:-;t,?cv~
        ~ ...c;;;.;...!...,~                                             v~.F"~e:-3 .£.va:I/Z~~t:,1,: _
____~     W'fa:& a o:t,v,,..,,A 0£".ez_~~L:a:.iP ~ .&l~~-~ A V ~../. :?.C~J~~ _ _
_ _ _ _/.f!b!O C~,E,,~";P£...1,tri&-~"'--v / ' 1 ~2:Jx,Z.,a,,.,.,e,0-"up/_ ~lZ.?V ~c,,~,£:%;/GfQU £ /
                  .P'Y ef:_Ye.rodo-7 /-Id_!? 22:t:P ,;h.-14'°r>"7 ~ Y € Z / ~4-p   ~~Lf±~a--,,~ - ~ { ~ c _ ~ ; p
                 • d ,.J..:0/B/ & 1 ~ FJl)   (..!£Q _tp·~_ytvf:'C@~l{}./0~ ~ - ~.f./?1.n,:C,~                  <,,//Jf,,,:f; _ _
- - - --~ ~LM2_-~ /?;f;f.4t1::~ /x?.vaf1.2vd .                               _ _ _ _ _ _ _ _ _ _ _ _ __
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                                  ,~
               .Ct?.E;: 11TT~d.r n.€JvC. r-.o /?tfile.( ::-3, HJ, sr./Jff'mf",,.r'/ o;:::p;r~a                             .1   c# )

               cJ•.J
_ _ _ _ _.......,,__       r~CAea,._ ,.1.._rH..41:::L t,i1crv.z;;.J_12:tz:::~c<:L!@L£12CJ/,l,O:                  ~     e--
                                                                                                                       .__ _
               -~          ~ -r:s.. ~a;._.lc,t4.}?, ~    - ts-to/6, rc;n7c Lu,,a;r            uf... _r...cL.t;:;v6
                   ~.cev..+,,ec;        ..:er s-or~..:.t::v -R€lcv,4,vr:r.,4:,-Jl-t; '' c.£.cevttAJCcT .s;,,:W( &e'
       F.a.£{) W.dr/.ul I ,s_ f)4KI_ 6{{.0Ar 7'7:re"./)~Z.Cor'~~o..uCPY--o~ _
_ _ _ _ oa;:::_d&r_G.C_vL.~.P-rfl-?17.::IC~Jtt-,,Lc£ .., ~JZ~.fi7E/R.Y ____
       -~ L H t,,JA.£. cU,.f'f<J.rfeJ2 ,4_,,10 ,/e€T{;II(,.,;€:_):) 70 /Y'C an)_1/7-Z-t.ol 7 .
_ _ __ _.£12£7G1v:~u.ttlr:r~~~.-,a-~ cfA-o o w r ~- - -
       .L.:Ct:12 ~'= W / ~ ~ /i~@,;':?::'e~ WQu.U,. AP/../l.<2 <,L<.C,,,,.,,,,,,.,..
       ~;r     ~flyet:-~1 MO...£' JU;;;rcova ei, 1,,,1..r; / '~a9-1 dJ~czc,,-,,,,,,-
       . ~~ l l o - , t ~_ Eqrt. w ~ /~                                  u~.Lt.~.o ..x=>-C'~c~ _
                                                                                   I
               ,111,r: ~ o v -2.r-z<!)/ .. -ru. ,_~         _(J.8-le/Zt'dzJ2A-Kr. s ~- - -                                        _
-        ~              ~     /~ ) 01o&::12rtn.1A/ " ' ~ ~ a z rA>JY Ge"c.C€/A4vce:
               .1!""1Y <i,,£_C£1//y,/'~..£/" Ncrr-~c--,,QA-M(:7:)!
               .                                                     ..                  /t/€J<..•r" i>cJ:£NP4,vrr
                   //_ ,                                                                           ,(
    _    _   _ . µv,OW r/r£f,- A l_ L ~ L ? : J ~ ~_.t;;r-9 T7rtZ7Z. / irlcCMo,)2~
               p   .ruf:t-vf?L<:J>EO~Pr-J,v;r.r' /11~&'>.I T<') na«zrA oil t:? Z-!z'.'C
               tf!Lrriol(lf;{)[ C; 8?& 4o<.l.h1~     ~s,.AO fuvr&z (J)o,c, dlo                                  u ~~            --
               . f',t!&tg~/~~J-t12c~J>J .JZ.,~11-e..~J«.EY~.1?4.R:7; '' 0-C.-/----~ - -
                  c c:u.J../2-r W.~          1Q.~     Q Z?~ r:.tr/4J.Y.VW (J' _
                                                                              ,4r&C£ L~_Z,,o/ J ~
               .78 &1'!£0.I C ~ OC/ll....u1.C a~r.i£J' f't7l.1<J,.;,,l flrTCAPY ~ .f'~e-rfD-.,../
               . ..62e! :Y~..Tl,,{1]:?:J. /:J-J/lr:Jf,lel ee,g££:v..hvC£:LiG°A:vJ__pz /lc ~,;J,,,J /IN~
               ..>v.JEN$""~t:f µ ~,,fift!'I/< _ul~ ~ (/,.}.:OZ-/~ Pr:!,Jff~!lcrl. 1_1;~                                          ,.al
               £ rroQ fAJ04;,,1UJ Z/L t,(v,r.£;,:;GZ,Y. ~ l;vd.£c ~ ~B <Z((JfrJzfAff--t'/, _
                                                                          Jo   ,AJ ~ R ~ ~ / L N o f , , , . J .,,,,-,-,1(.
       . B/UJwrl '.J .-aJutty ~ ~ D 'i'-:Z1-Z-,:;tB; ~.t? p1..-l 8/ZQ Wv'I ~
       . ~R:t2:Vql'IC<: / ? ~ ¥-2.Y- Zs!.JC:, ~fJIC /11L.i/lr:.>tv.J c),:r/;(t::r,Pq/c.//("Al
_ _ _ __a£ £J<r14L.1.r-r:rMo k.,O-o.c. 's ~~..c.rTfV]z.rvc:-,/2.c?MaJu--:r foll- 77re:-
        ,,t!f-zr~-4fr/4.r.,,ttr;.~-~ve::i,,J£C. £Bill.C£; £4,C6.;Jl.e:rro _
               _ faq}W. .:W-c.£",_l l 2 7 f - . . ~d ., _J )~d='A::fif?(Cc.'-7l -r/'  ~ _ £ h.,z:;/J,,l,P
               . roP-r/,-"l!~ . . ! f Ur-Iv-/ ~ ~h /.f;(Jay" 1"Q t'a:J:V E" (OU.£.l:1Y~~c/~
                           ..:evefu!JM.Cri?::JO o«..C,./::KJflY' ~,,.,,,, '1""t:? ~EVA-Yee
_ _ _ mpete<:/Mtlt} ,4t?<N':c ..c,,..;{ /'.JOc. ~o . 3o, f7<1,f£fit;r.r l>~t W-£4<.!~I,/ fJ-ZL/) · _
                     ~ . >O /Y1(111_G:_,tr7~~..!Z /fl,I>~ 'Zl
_ _ __..,,..k'.":""'-~~_,.                                         :/.2;
                                                                      ~        J;;/_L'r,
         g_
_ _ _ ~ l2€ct.AJ(.A-r£'c.J a-,.r-12. p1cJV1Q"'                             .-:--       l!/JfJ£CfJ2l"1 rc__or:ff"~f!
             ___e:M_r.µ;,,rl ,      /Jv,-,,,..m:._,,,,   LRJV,;,
                                                         --:-c   ?     veJY1or~..fi,ll_ f c1~~'!-/
                _°J4/7G/J1 ,  • O<:... Nt). J:J.1 Ar f!Ur:r.~/6,,[Z 18, /C/r ¥0 -<cJ ~ ~J,J. ff'//J..13) -~ --
               _,.ub·_p/,CL.£J7£Ae fr/I! .bVoc-J f,.Ja;/l.,AJ/(_1JT7C~,.r~ C rk ~ , v ' ➔ ➔ ➔
                   .(LJ.TL~ fr(/!:1
                               . t f ~/0- 8.~E.]'/ tf.:~_..s/2f;ff/rt~ o , Ckr'-f_<::--Y:/                                  c. ) _
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           ~·L~~€Yr 70                     ~#(!"'- 1, 'fF~,SP1n:-d.€'Wr~(t:.5:ru f:J:/ C. )
      ~                              -  ~ ~~-'t{ZllN
_ _ _ _lif,l.(!.f_~es,A../!g_/.L~/!'1/-_&~~~...£. SvfPr"1.fo_
                                                            W
~ - - - . {>.l.t)fZ-r M'(" C.S, M/f!.~ 7 -.i   ;e.J( p ~ 7.o l"l-r_cfY1~ ~
                                                              P_                            /_D,r/(_tj(.l(il;/
           JC-t,JJ,4(.5.o, , r u ~rl/C~v/WlCt,,JJT4, , - r Y C ~ ~
           _ _ _ 'Tr/E 6£/Zl//-l,./C£_[Jt}-Jr(} __Y--2.S·-L._¢/9 C;_t}_J,.,/f1.Y /(.CTCJ/L-vep _70 /11/l
_ _ _ _8/1.-c)c..Jr:Ll?L]er,£JL&a::_tr;,g-,w ~   .zYtaJ_w(-JfJ..a- Al ,r
                                                                       ..c.tf_rlyf?g_/_ _ _
       . /J,./£1 ~ 4I.. ~ 77rtcft:cile/7J.1/<7r~f-Af~rQ7,.JJ' ('€_.£ZZ,,,"!t:j.1JUllfl..rJ;
- - ---41it).-.«L-of:
                   -17Lr::ZCaa-£.£J21lL.Ll~LaJ~- P~~--:r.:_T-£_.,..i,1
                                                                 ~v:   ---
      -    -. Gl!..QpLPr'fc e : . ~ ~                                    .,. -~EV€
                                           ~ -.~ f i } ; l £ ,_Cs;;sJ(CJ-v:r
              II 977V:/l-Y' ~ /l.£r/Jav-1fe_ .r ~fQ::1£ Y'r-1..f-Jof q ) MaMr.vr:
__ _       ·-                                                  1/ow€Vel'l1 ..C-
        _.~ ~ e : r y _ J " f ~ L J.r £ ,-}r<3 l?f~lf::j,f 0if£t=Y-4:Lc.~ ~~
______fJ';
_ _ _ _ ;I2Mr~~ R 7LYL.c£B::u::::f ~,,-(0'@-.r/_pc0f"p,.,r~ "'1#{,1£-r-
       . L£0 £ . . ~,,r CaJ?.P..._vt ? ~ exc.~.rEO <c qJc-cr?"' ~l<c ~
             tk£/4#0,ru'Y' /'f&'l✓OJG F~~Mv/4. f ~ f,nA/'v--./ZfY,, A--.NJ
           . f<iJ..?Jd~<,F; of:tX""C:C,1C.f .rf7.QvC/J _JJrJ,.rc ~cu.reo /4'1Y 03/1.1/1~/
           _ S"/c(;Q(,tt£i.l/JI o~ /"2..,~,1>(~ ~Afe"V/Jrtv'C~- ,COf(._rt/1. Q-~/01,1 4:r'-IS-c..o!J
                      17K (/a.re ~ , J Yt11.CC'f?2kvt .#0711fTc,{/tV Jd;t;:JJ ~~tf:""§8°k (
  _ _ ._fi.rc&<.<:¥.W..&CC-t:P MX..CA_Oii.LkSr{4-w ~P:k ~'Y..s:.._¢1.J,.Lv:2__ _
         1Vlu✓ A-/WuyYjC' ,4,vy7~ ,-"II~ .Y a./_ tJ£4.'11tr.k:CC.C Yo.!i C ~,te£.l:'V4....V Cf°"
        Wffe,/f,J l_.J $,'rYf q,C- ,kf>.J(L ~       ~fJ ~        {to/' ('O(A(_/,) . f ~
__ _       ,Jti,t</4:!f_.7&ec..r4 G ~ ~ C ~OJ fr-_ /11LJ:m:-7(.. _x/C,L ~LZEP 4 .£/~1'9"'
____       • ~ c:iv~ I_        ,-q A c;,qy:q::t::,_e,. L.,~t?_ .c.c1y.&f::l J?f!,,-vr-_ .4ccr::,'Y-!r..Cr; _
  _ ·-     . /fOw <::..-CS-c4 ~ C.ru.i!!:v.r~ ~ - veACc ~.cfi:;lcy~ --.e,1rL1 f7 ?
           . ~I?; 17~~ / f l ? ~fVv6-7Lb4:: ~4,.., c.e;
           .       ...z.AC.r~ e..n;>rrr 72:> AJ..w,r ou:r :r: ~ .CC.eV ,,,-c-1y <o~;,yvcc.--q,,J
_          . ¥-2.$-un ~            u-   w1y a-et,1-w{c-r:> v1:1t      ,rrc y- Jo-o;, c=i     u«c
_____ (SJ tr1~17/7 UJrt'f,, Mi!            ~r;1s.;1 tftf_J,{.r(/I/Jr(__~~BtveJ
                                                                     17ctk27!..-ow;J
             ~ r ~e-:::r/1'~ /J.,(',, /J'!Z! o ~ f ! . .c..dfl.(~ 1/'CP.zO E!Y             ,-
           . 4-"Y/"'I'~ 4lh0rs-4.,,,rc~EL[CrJ!f/'CPCC~                      a
                                                                ?rct(.-1"2.;jlt . : 1 7 ~ ._
                                    ,           ,,                       ti;e:J: ~~ v·. -
           _/Jl<&V,N,4-£2.l<:t F-3./ Z7o/, 2~ (;7cl<Cit L.c,Q~J,1,0 (J!7-UYb u,rc a,C ,Fi>/CCC   ,4-C( ~

            ZE:~'12£,:LLrJV(:,~~ ~ P/<,C:T'i:.~             4r-f~fl'IIY✓c~/?/{f(,rcr,,,,.s ~ £c<::..
- - - ~A"""'/ .e:&:!C~:t'dl.$Xl:ld:Jda:;:CQ"'(_,:.._#.J.}C...L2Y..;:J'i.l.&_c,t._a~.f/ll;tf~~✓G.£7=P. PY
- - - _12.~av:t:r~,,,_AJ.~e::w,.,.M-O-~ , ! f f VCJ£.o:2&/.lRf.C(lrl.~_<:;,t;c-,ccc..i)t./f£ _ __
       -~         l:a~?:?-~:::J'. f/-bb? (cg£et4,J:a.:::.r,.4,U,!.~ ~ ~;;r w././eW~
         UKJJct) _-,o / ? r i l r ~ ~ /7~ /J't/1!'/(}(. ,l;?fTO(o;,4}? ,77/f:'7'1.

--- '<µ!.. 2'}P' ~--f!)xe'J'Q..P'!16~3'/ ~ J'ilJrrCl'l-f.£~ ~'b(Jq_~                          _ f:; ) __ - ---
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- - - _f:C L1ff~P•Z('),(:CJQ                    ., ,~~~:L
                                                        ~ -f
                                  mE' Cq..; f M,/lY: ~_,e/f/fr)1,,./AI cP)$ #dVc);?._ ____ _
 _ _ _ _ <.,ofl)_z:L'd.U.o:'- · , --rcJ
_ _ __ 1&az:/U:::.W&@ ovez! 0!£"~Y-/Jc[l?-5f?A{;f-V·Mccl ,CO
                                                                                                   (<I)

_ _ _ _JY7/.,c;rz ~~ "-'.'L.f2t!"Z[(!:.%/J.qe.,_F.,C"~.t)~              dve-:O ,77.dQ~
        S,./4rl--9 '.r/J-,,/?') 4/U:-t!-v .tW c e.-fi-4t11UJ://P ~1J~WN H1UCJ , •
                                          _ _7 Z ~ ~ . f I ' a v~~f/;/~__vv(o .OW
_ _ __,1 2/f£_#[, t f _ f r f 7 L _ r ~ £ ~ ~&et:;rs;r-AI. ,~£c-..£22(.£_/)~ c:Zz:_'
             _;q   f)~,:;,,v-((Yl.J    G1!r.t--9lj', ~ ~f:£'c~cr f", ~u-c v~cr                     ~/E?JV,,
- - -~JZ«l ' L A . . ~JZ.r~ .fN.. --. -                            -~ ~- -
 - -~-Mk£ UAIA1-V~n,fflfe:.4tiP co ~ ,1t.Lo_c..J .r~//l.£/~_t-f{.r _
        c.Arr~      /IVVC,,4)/l.J.,vAl'(.O, {f€e .        - - -;??~/;itww£,./G
_ _ _ _&-qfg-.-_ru~ v. 0R..c;,u d!..,. ~ £J✓,_ /ZY~ .J~1.?;Lr,, ~tr, -~~ __
         G:d,f-//.r, .E ?..?1            ~ 1l. .'1y~1(Lv.
                                                  . N9Yfb 2915 c..1...r: Rfff__u,. 'l'
                                            U&..e/6
       !L!NJJJ,: L4"'1B v.- ~ ~-s 2-£i& 2 8<;,,. i3)RQJ.6 €7[cy v~ ~
- - ~ ......
      ;foflnJ/IJ, i(l J h Ycf ~7't; ..8oYD V, epf<Jc , co_fi.p. of::/fM,1 3?i0 F-JJ 78~/
             .,7 ENJ..£ GAN II. STUCf{etl /            J c> f" F3✓/OJ<!JI" /OJi!.(/0 Zffar,/1., 2 <:i <iZ)r
• ____ ,t.ffWLJ"ll~ 4r1A-Srf;t71<d,~                               a
                                            ,,,:&~_;::;__y__~'f-1 Ji l l &-(ZJl zqc._.2,J ~ wl_J8((3JA-i o/~
      8lll/L.v , CH<1!1..K<a:& .ZGU::::Jol..
       /?owe: IL, f:NN 0 L77 F. 3c( .]Y~
                                                            ~8!;,:(6/}
                                                                    'Ofc;z:J1, :2.<:>D i)
                                                            V _x__z::6'
                                                                    ___,,,0...,.m
                                                                              ._,..._
                                                                                   . _._
                                                                                      /9..:...9.;...9....,.J.....,_ _ __ __
      d1L?Lei.l~ ~~ 2..!fZJ::_ sL?.)'6:1_7~t& & ~                                                             .,____ _ __
       i.1,,;45f:.w<J~J:J v.. w~ - J;~j_£_,.U_ :i. Cf 2.. ,.Z/1,?'" (s..~~- !9?._8) r _
     ,anz-e:11 ,0,,g ~7 ~ 3cl /2'/5 (/-t/1/r;-7JtJ Cc:9.J/4r ,o.,.Jtct;c 3:='ro),
_ _ _ ._U«.fa'/4 s V- IJArvyetcJ;;6S?J Fr/ !kpx-- ~2.z c / f ~ ~-j O?I'/ cdltJJt;) ._ __
      _ _.OAt.-c V (A/J~.:Ov; 3 7~ F J /_~5L_r t',2~Cz~ c~ ZC)EI/),.                                                     __
        To l CV· Q--{MJJL(& .L/;18 F- ;J;f 'ik) '(, __
      . l'1<!JQA.,€ V. T~ Er<ll.,,- 2.1:;r)./Z UC. ,1?/l? c_all S.[/~ ( ,//J,!<101(.r/0 -rpca, UJzzj
      .f/<or-J' V, Bl4KE; 578 Us-, CoJ2
               4&:!iffJ?orJ(p (/. DB,At{Q~ 2s':J.O "Z. W{. J87So2.1 6 / ( Alra 11) ., FCO.. (Q ,J &voZJ
_ _ ___       &14R-rc4 1/4 r:t'Y/lf:1l,,;..oo 1. lJ(__ '/.B'Oif.,?...7.. C.411,..£/ J °/ ~ 28,.Zc,9 !..J
              IAt.t!.10Z<4-<otf-oI'f, 2ogJ .u-r-..tWz-.. t,(;:)U.'L J8' JQS_ ____
_ _ _ _F~§r /ZkJCCJ_ -t12- « - ~--C4:d'C?tttJ_:z7,1:/'J':L.JZ16'~ J:!~~         -c
      -U{J'er /f/Orffl~6 a:z::r~,q(:l.J tJ//cN l'A.JJ'od c..r~ ~          dY
      .PAV<:J-v~t.lr fi~r-J{J/·6 ~1.J,.fC('~ 4-,Jp }o/q-r~ . T , : J 7 ) 1
      .ut.f...L uV~.44' JY1K 6-v.✓-L~.s..~          / h t:r;>.v ~£J (.?Jo c N() ,..,r -
              iJu.Arl£L.3.J l('l2c£e"1.t'9JLd ~ 6'"'T c.r.1edll:7£ ~-r?aI..CJJ2t,f-J:;!"£JJ'J!}V!_
                ,/4-v:1_4zU: 4:t:Jef/'~~ ~&.l~J t.(1!)/i..c:.tf)_<M/!:lelC.. ~              txFP--f om-<:-=.__
                  e"x/;f:!)J.,ecr ~Tltct{~- ~ J?- c~/lcrt;r.} LQ,U4 rfe·(z £~44 V:. H-tµ?l.0../
             ,)"10,,C,IdJ~/,,/~J- G,Yczrlclr. Zccf-i). lD.u..~r::1..11_,, l-'46€, J..,<Jf ~JI 'I~ lf1()(?'!!/~J
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on          /4 -/5'- Z:OZA-                       I sent a copy of
                                   ffllPl~,tL'' (date)
    the Appellant/Petitioner's Opening Bnef to          1(,£ <:J!)l./l?,t,crP4(Jt?ft'fts A({,,'17(t'/0'1}!:-<:..c/l<!:i.lLl?;


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                                  CERTIFICATE OF COMPLIANCE

    I certify that the total number of pages I am submitting as myfr°c./l'/Ce:7'?(!""rA"l'-~iJ~
    Appellant/Petitioner's Opening Brief is 30 pages or less or alte'rnatively, if the total
    number of pages exceeds 30, I certify that I have counted the number of words and
    the total is                , which is less than 13,000. I understand that if my
    Appellant/Petitioner's Opening Brief exceeds 13,000 words, my brief may be
    stricken and the appeal dismissed.




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Form9
For Cellhouse Transfer
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Interview Requests

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                      State completely but briefly the problem on which you desire assistance. (Be specific.)



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                                                                            LivingUnitAssignment:           ::1---1:bz/r4cr-
                                                                                                                 .
Comment: _ _ _ _ _ _ _ _ _ _ _ _ _ _ UnitTeamMembersSignature: _ _ _ _ _ _ _ _ _ _ __



Dispo,ition:   f-d.i      &>NC\




To: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       (Name & Number)
                                                                                                                 Date,@' 1- 'z -2(/l____



                                                                                                                                To be returned to inmate.
P-0009b
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  Inmate's Name    ;1),q.\.lt J) I]KOA.)~                                                     Number      -#5 7 8oC)
  Facilit)   _a.J2QQAi>D <P/U2. £!,;<:.        Hou~ing: Unit   lrlji2t/8Jft,/'                Work Detail ~ , R , ~ rf,.




 UNIT TEAM RESPONSE (Complete and return to inmate within JO calendar days. )



                    ~I#~
                                                                                                                                       7
                                                                                                                               Date

 INMATE RESPONSE (Complete and return to Unit Team within 3 calendar days )
 _ _ _ I am !>ati~tied with the Unit Team response and wish to wi thdraw my formal grievance.
 __0amGi°l~fied with the Uni t Team response, and wish to fo rward to the Warden's offi.se.JThis must be done
 within calend~J Date_)9rwarded to Warden's Office (lo be completed by staff).      ,L.£- t?n ""--cfi:-
                                'h -                 --                                           ff/ 1(- zcJi_~
                                                                                                 Date


 ' WARDEN RESPONSE (Complete, attach response and return within lO Worki ng days.)
 Date Received     AUG 2 l 2Q22        Date of Final Answer      AUG 2 6 2022        Date Returned to Inmate     £:,1s -~z.. t.

     J         ,f~
      ate's S~ ature
                                                 ~-/~-Z..,,"t,
                                                              Date
                                                                   ~1!! ✓~,.....-:
                                                                        ~~Signature
                                                                                                                     tf-}l-l~L
                                                                                                                               Date
'     j!,!,ali!,tied with thi!, re!,p0n!,e, the inmate may appeal to the Secretary of Corrections within three (3 ) calendar days of
  receipt of this decision from the Warden.

 TO BE COMPLETED BY                   ~ TAFF     ONLY                                                     RECEIVED
 Grievance Serial Number
 Type of Complaint (Item 4: Code 0 1-75 >                                       Dt1Ji?(r ~                   AUG 2 2 2022
 Cause of Complaint (Item 5: Code 01-30)                                            __"-'-i
                                                                          _ ___,f_~)5,U                 V\IA.R DEN'S OF Fl CE
 Type of Response I Item 6a: Cude O1.02.08 or 09)
     Appellate Case: 22-3183                            Document: 010110785994                           Date Filed: 12/19/2022             Page: 18

                                                                                                                             C€"XH-£fs£:T-D-I)
                    _fr.· ,A..£~vl,'.lr1 t                      ( QJ          _b        G-- 2 -oF-2 )                                       (       Q ) __
    t/-1'1/,tio/<r;-r.£c,.J       l S-t!'XcA U -Y.'fa ~/40,~.£'4:'7£'.JN~~ru~ (_s-J 1,..;-:urr:t, .:f/',,,.4f 4:!!f'r.>cJ/{"t:; v,,h'b                          _
 J'/./{: f::'41$ tflCU:><.--.:.;GfCo t:P   ,o:,41.t:Yt.._~..c...;;...o.z.s..:;..:s,_.r.;.r.:,.,,,.,,~ B!s.e,-t(C ( ; ~ a .   ~ ~ . , : . f/.              <!"
  /ltf/i.    ~ ..z?~         .L()~~.Je:J(.. tffA..~_ IF/t-;I ,4Nj7..,Bt£"er:J-w.r(;    .£ G/t::JceZJ ./n:-7 f._1J_,./~/~/:;.7(__ ~ C J . , . . //
  f l. f f r,.J/lotf?r.11'1(: ;lfJ. / U-/ZI (fA,rt>J t / 40" c.£/if,v~,l{Y M " ~~              / tl/d'feH f _fJf(? AC??,,/;C4_ ,/1.Pf7~ -
     '/4£ ff~P.eJ /.l-JtJ.6?;e_ ~ l!Jo,.£,,/4. 77d"r /,J.A..· c,,,.,,V ..,f;fl,£o_fferP ~l £ r ~                               fa ~ ? f "'
- ~J.tb!:,&_ ""~Lo 4. E2? A l ;;1- &t,--~y ~ ~                                      d;J/-~ ~ ~                           ~ Ao,:,,a?
 ~          L..tZ~~-Af,,,.£ ~Ae:JJ_,;t:;r,t1r...L+.7.f,µ.i(.DLQ 4<:ou ~ Uv'eJZ~h::..LI~--,
~                o /CU~£r--t'1t!l-fZK-/.JJJ.Li-L!£a.u ~ ~ 04C.~~                                   &J~- .1r~ ~ . l : ' ) 1:9,f,J2__ __
  ~      ,v.(£_JN4/L c7>4~,a (µJJcc?2 h                       0<.~ QCC,:JttJ C-?J/c'.:~JQJ..fO ~e-:;-#1,Y c..£27eP1-AH'. P                        _
   ~ 4.,..-fJt'-X.S•w /~-r-P '/7J "2:~ ~                  d.ol!::1- ..C:...~ .I I~~ Y ~ o ,,, r ~ C .../          ~r&farr -&
   L J J ~ o ~ s ~ l::LeJJt-~tf}.,.K?.f/ q ~ ~,v-~_.A,J_p -e:TC. - 4~_12_4~vr;g
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   14. t;,/lw#i~~~~ tu.£.o~ fl'f. ~ -17,fb.71.. Ct'~ /2cRJl.£g~/Y"'/2?-.,ll.../VQ(;;.) J"rn:s ~.r,:;r-- _
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_[J 1 1 ~           'CJ.7,/ l . J h ~ ~ &✓er(                         <1..J   ~e,o/Zt:?_ /. ,.... ~                          - A/o;r,;   ,,,,,.,~ ~

             (ft J?~-      :rJZc.,fl-/-,CU-'=-.eiJc_-17 £:~;yr ~ 7,? ~ p_K,.ryr,tJUt:ft! J ;f,/4?~_,1
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   ,Ja 12_ec:;-:JJ 7 ~ <:>/2~ ~ v l)r1c,_c_/?/t aecr., -A:!,Y-~<d~ f l ~ ~ W D _ ,.-OA," - - - -
_ &,oce~J ~ c ofl.A;J,/';J.7£.lf/"r0'!$ #::l-C.€GrJ'C.-> ,& rn~~ r~                ,eJw ~/9r-u;P'l ...::t;?_.-, /
    r~ ,,       a,v_p _w- ~1::};}f /<lnOAE--rf'~/<::~ ~ - /11/ CdY"?/'~..f/'7'31~_!e
 _£. v ~.f G o ,Jr< p,1~,.,/_ ¥ 2f:2::'£...U-IA.,O~ ~dEGI                      ,.,- b lJ tfJ/V2.f~ ~Z?z::::= ___
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_-ru4.,,v~··xJ OtJ.. ial"PE'A l 1 3ur./.!<:c..4'.(.re:: ~                       ~~y_p✓-:;co--1,,.,~a              ,t!."1   L~~ rrE JJ ~-    0c,, C'"""
L A-~d                f/rlC f f/~ . ! ~.£,L~v(d 0 ~ ~ e ~ P ~ ~          . . , / ~ ,C'V'"
 c._c,-~..r:'.1£r r.&A?:./7""CP'fr!T mor ,t:;;J'(., :s .Jfil~1r C/£f/l .
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    Date of Filing Appeal:         ?-- 7-2,o 2 1.                        Facility Hearing DR:      £:l ~)?/fj)~         C


    Date Received Copy of Disposition          7 . -, 7.- 207-2          Returned AppeaJ to Facility:
                                                                                                                             JUL 18 2022
    I Am Appealing the Decision of the Hearin Officer Because:
             '4.5 /f.)::J7.--;;;




                                                                                                           Date:   7-7-g::,:;;z
    Received By:                                         Initials                       Date   ?ff-'Z:ZTime
    Unit Team                                                        Disci llna                                      JUL 11 2022
    Facility Le
                                                                                                                                F
    Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              Date:._ _ _ _ _ _ _ _ __

    Your Appeal Has Been Reviewed and it is found that                        Secretary's/Designee's Final Decision:           ·
    ~ Substantial compliance with Departmental and                            ~Approve the decision
      Facility Standards and Procedures                                       0 Reinstate d ismissed charges; remand new hearing
    ~ Hearing Officer's decision was based on some evidence                   0 Amend charges (44-13-202)
    D The Penalty imposed was appropriate and proportionate                   D Disapprove/Dismiss
      to the offense.                                                         D Reduce the penalty
    D Guilty plea or no contest, no showing 44-13M703(d){1)(2)(3)              D    Suspend sentence
                                                                               0    Remand new hearing
                                                                               D    Remand for clarification of record
                                                                               D    Reduce to summary judgment
                                                                                   - restriction from privReges up to 10 days
                                                                                   - fine not exceed $10
                                                                                   - extra work w/o Incentive pay not more than
                                                                                     2 hrs/day no more than 5 days            ·
                                                                                   - work wto Incentive pay not to exceed 5 days
                                                                                   - restitution not less than $3.00 nor more than $20.00 ·
                                                                               0
    Comments:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                   Remand with instructions                                 ·




                                                                                                                       Date:     71 B-2.L
    Technical and clerical errors In the writing and / or processing of the Disciplinary report shall not be grounds for dismissal, unless there
    is substantial prejudice to the inmate, which Is the burden of the Inmate to provide. Pursuit to K.A.R. 44-13-707. Harmless error. Plain
    error.

                      1--~TV/{fv<c'Y? 70 ,;4-7~ /J'IM"'/f.ox 10:71"fl/l-? /7.Y H_/G.1""7/1.<l<:::-Y
       JZ.e_·
                       r,.J        8-~zz/cl}crjr/tctx_/7-).[b -                           Zo "1.. --Z
          Appellate Case: DAV~
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                         c/?.5€ NO , ~2-0'5-122



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                   L~u:- r --- '- r ,,,.,,~ JJ.        ta                           J7?. .
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            C4.re ,...,,o_ 2.2..-os-222
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                                                                              Date Filed: 12/19/2022           Page: 21



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    3~/f6 /»Tl<.LtY/lo:;,ff:~ ~ r4.Ke--~...£1-77..fr"c::~/?~f:-,,,,,;-?7~W(;x/l.!:)
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         CA-l"C/IA). 2'Z--c>S-;l.22
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         19
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fa A /111/N.£.UI t"Ntrclo/?et,.1£17-1 t. ~ ~ / ? f 7 ' l . J .E ./Ztlxu o-rt--O
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                                                                     r8-•"111'.t
!9J Fzive.-s A£<r,,VD?7V /.JC 44u fclJ. ,C--fet--:r                                  or r ~ y /-J-tV?J
    A//fi.0 1U/l rFCy we:tJ.          o~ ~(]?/6....--C JoA?e:7#__f--v6 £ ~ ~ r~ c.2.r
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     17,1-y i)J;J1Zvl'P ,.t;,qA//:((J'fe!/'Of(."7 ~/pfa1~45 ,. 7/,f£5" rvr/u-?-A:~ ./?,-0<..A.JS°
   If<; mA-X-te1 's A,t,.!&€/c fr"IP /<e7/f'c..MPPAY RTztJ;U/:?F~fNJ--r~ rv/J
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    l,1h -!J tJ:f,!(_.t: ro (l'J-.1.:TJ/,f ,r1,-"fF. .r--,,J vJo C/17-0/\J or "'
    4,1/CY[ r/.lr· /.:f}vJ,_fa1 UrvA-/3Cc ;t> <cET,1 fo;,,j /Wt? yfoU{p ---u,~ /Sc
    ,r::?-vt7J ~      ---:::J-Z{, '7'/r£J·f5 M )-n1r.1077ff'/< 7CbC           /42?oc.. ~ c f l " r " ( f Ufr-
    'j<:)   f'u...lf.,rrl //(ffe Al c?c5 i fAe_,,,r!(_,.Co,£ e)('(:7<.. c.£.J' ~-b rt-17 ~-er~

    Am&/}/'Y/€~7<;£6):lr~                //j,.;';:J   /.J'c·c/-Jv.Jt ~ /Ar /1-lfl 01,0Yp"a~-v
     ,4 T"-W.       -:Jvf#/   Zo'Z_?__ 472£,~CJO ~NCO./ fr1)" /1(COv~£r Jv~~o1.-rr 77-n:

   ~~,.,-r                    /47   Jfpcx.. ;Je1e:'Y~/?Cv:4,J OrJ     av t7(:rv,,ev~ /tfY }/,/c_
     l1✓C t..., J s-cyr1c-Jr/Jr--?'~(9'V}om.                .z:;;;,nx t/6-wc (.~ /hi,!;?   CAu 5 t-Y


                                    C~<-s-~- r )
       -· j),,~_v.£0 8JZ.o (,Jr/ # 57tioo
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                                                                                             (                     Page: 24
                                                                                                     EX/1£-llfr-l]-7)
     ( fit:'   ~..i.rcdlf,/-'t,7.y/1#0J j,,o Ji" ~t7PW'~-4GF- r;,-__ oF_ 1 )
      ;Tlf'c / I - ~ /24,,v~ f7~evtJts ·fO                                   f c,:::,t{ fatcJ ;77✓.,£:J' C/J'Jr' M-77:lc::?Z_

   /7- ~ //'V.Y/-17--.{ ;77-leA/.)?n:J( --r7,,;1?_0UGI--I 7'7k'                          ,,,v.ol(_/71,,.,-( /(l/ff6'flc         f,,.~

   lJz;1J(l')/(d{;(uf'f' ~(~{/Jfort-7f.


  Jl)L /)I{) /l.,tr,77pz~,-1 /L,v r-:~_,,,,..,-,,,-,..-??~.,,?@e
                                      \..         /-f"'V/   J     //-,1'~                          /) ~'/
     _:£;.},o.£;c t:Vl ,.//~                                                     .       9
                                                                                             {    .Y/A '-Rr{Y O./?
                          -/ .              77~   p t/.:f27c-,,,-,r( (       ..S-LV/(Y(-r]" 7,7..//'J        -r-0l/.--d
      C?=      r,_                                                                                          / /L / -7,
            ~a::--??-1/co:Jn::?Vt) 0..f::R:-V<-:-;,..,,fo~                           J   c~/✓- €R_            /"U,. O;-'Z.

     ¼    .fr-"'1-Ars .::r;:,-)"'__n:-c ~ 77-k·Y                c....,o0 W   ~ cJa,.,;       ; /?c.,,y:-t?o-wri rJJ t:...£ro/l:T ..1

     ;T✓_. 0£C Vf""-1""/?'1lJ       0-/Z/,4Ji~faf(_. U/2d7C.-.l!"'~ .:O,/l                   5 77£,/YtJ~?F:r.. /4;;;?/4"(
     OJ:<.. v on-7l     CM)'-,)   l() c?" 0c.0!'11 x/Vr(!r,J           .::r

 .J2J //l ( £        jj.1]:, v//Js RtFuf'C-fcJ Jpqr{i/ ..vi)N/JSr/ !7-1;:,,{f:7?                                     Ur
      51--Wrt<S~u/rlff?c wr-!Cc r f /-=od nY..r/76w<--7l _r-,..J ,1:c6 £✓ c-z
      (€C(JA..?u rC 1-l"'tJ /f'6 /v/4/r { f7" /ItHIIOJ 7V 11· l l ofr.J /71<: N mL'f                                              ·
      G.tfO:-rfor1r ;Af.lovr '.77~ J7-hWt-1?                      /
                                                                      cC.A::£?7~ 77-?t--')//.J:;,...-r- /--rA-v e
      fl"'YP~f,,;{p -JO /Jd tv.£?J1,,,I my Ct/4/26~ 2ltrrJ7,-f/JJT./U')-rr/'Lvc /J"'r
      0WfTrfo-,.1'J/1,7o ur ?'7--n:J7---lov--{92_ .57-mw'/;91ovr aa-- Ve-777-n /1A0/Ell.
     £,,,;;-e-rJO OJ ffJ Al(_ofrJ /1 F!U 77-JA c-~ p-tnJ~ A-)J? dlr-JJ ,JZ J/rC-
      {N/l..07l-,..-_;-r.,,"'f-~ .s7~&4-fl'tc~ c - 2 C-t---rfAV1fc<" 1t> n/f_.YCFl.l-4/l/f 70
    ..f,&;:z;A   J\) ,PYie?/fvifl/4 (oty1/?(/J"~r AJJ0 J r ~ f/-loiv<-72.. ofc llt'77?J<
    -;?If'/\"' Ji'iA??-? £         '4.#9-570[41V       J?-ro t-vf-?( .£Y Y:~lrl/t7/ ~                       01.....:Z:::: Ca.JU:::, .--vo-;-
    J't-""1w t:7( A✓tJ    ()...cc veffc7<...       CL~ :C,,.,vJ J 51--IY;'00;:?              me .F/-/C-tvJQU(tt:J
                 I                                                                                                       -
   1]-J.;/t<,'17.ft'_q~f.A£12. TO .r(Y".._.r;fC_p- CJAJ _rd 'lJ/jO f,H/j-?:? t.                                         ,.s:c
    b;J:-<- v-cmJ{ 5 t,.4-k, {        r ,;J,/l.£    r ?7t-CA.:J)l/4 /}jlo u ; - ~,S',.lii)y..,f/l                    ANO l-i4
    tn1fl, (. €"'/ '77:t (.;;jp A-1c £71.-J~r ,/ \lof?/fel                       m       /::::b ~"7A         /U7       C/A;etf        r
    J:r    c~M~r; fac.o/?fl.tc0                            A# AV' /H/?-Yl/?r~
                                                      :Z::i:;;;1It--Y)/
      ;J!<;f2:z.r· <:X:C. f/t:772-72 .fl Ct---C.A-t.-- JcF71f{:vt7ol1 y ,lkrfa-.J v5"e7~
                                            (_ ~ c~ -o~- 7 )                                        ry,/llt-x.~Pmi c                  -
     04--t"f;.tJ 0/luw,,.J .:tiS78oo
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 ' . Ufre AO- :22-o.5 -- 22 2.                        (cxl~f-JJ-8)
  (i_r-· tJfr<£;{;9fr/lY' ;4/J/Gf{ ;<5J ~r.4/Z~AGe-- 7, o~ - o/ )
     /J..-vt) ci:;a   5 cc-4-U 5C°o:z::c Vt=7761Z               /(Je:7/c,,{ fa;r,,..r,o a::J   ro Clh4t"0
    PaJ'/li'l,vf72. -;oJ«-__~_g--WlfJ' . a ~ £ } .P~f:; Ar dee ve.-r;rn?_
     C0 n1<T 1D .P'l,,Y C t7 C (IJ£0/- 14 <E~ftlJMC rfa l,fc-7( l~P ~~

      fur, f<:z:;J ft1Y- Cd( /.Joo/Z /ANO ,m Crl'Y1<"fi> .,q:::(r/9 6,efFv~t.r
     ;:,,vO ..J/.-lf t C ,r£"{_ r e-4 ~ rel'? o/ZP €71. iJCl/'"~~ /W'? <o t:.-rr~ P9·
      _y-,hv-6/. B~~/l r £ EV~>.J_ 1-11tt? A c/..-lr.4--vc t- -;;v (!<./JCA:c:J T71t
                  1
     5;:K"~~ ;Alp               tJ(RJ1tr y),ff: (cDIZtV ~'11'1c Jrat>v--{-~ A,-1t)
     5";« /1AN'OL f,,.JS-/?rert:'YJ _77fJ';"--/4C.vt7?.. NP                l-(r:r??t-"c·f~L!-hU.f r

    . /4:rA      w_/)r     o-m.--,;?c..:r::rrft-V ov/C9"6 JM/ p::?"/5,r f:;?..R.                  /{Ott~

      OrJ       6-.J- Zo-ZZ l)y 77/c:/ff'/11~ Cl7::/&72., ;4rv'.:J 77-:ez;J- -O-ro<Nr-
      Qk_ VET7c-71.        U::e-p $-I /-¾12. O✓Z M~ ~(;/ fr-!"YJ WJ--frTJ.1u-r.r1ty.1
      J1_i}Ov'177/t.rHi>l,A.,,f/lJ ;Z:J ,4-1 ~ f ) r J V Co V(l'l )k/c                                  p
     c@~. /J~<JT(:"77,,, Cs:rl1ul7 ;2r~A?/l/J)ec7.Ffa/ ?.rtJ .o e-Aly ft'1c 4
      /)~r:::71.,     ~                              . 7?~Wlfo{ f.-t)./_, .£,f /,,vY{~.z;J M
      /?-77E)v{llrf) (o\lc7t        OU V~r?Yl,,.        y'o r~A-Ji;, /!YO   1/'0 ~{/(:WI'<=J~ J
      {r/(c)J\J !JaPl1     ey, p~~ftbf.s,,rl?r-/p .;wi #4Vrc?? vt? J,r..h",4:vS('w.4G>r
     e,,,vrin-7l. w~/rf cv,,,..,,,,/ .F/f<      ~co,;t;t-rf,,-./2 ...£J t7_AtC•✓-b/V/?,,. /W,t?
      /tf5f<- f , l ~        c=;-,;._/ 4<AftJ .JJ   eC.~ r c--£ /4 cfo!J0;:) JV£C~FC/F/V'.£.t-V
      r1 J),!ot,...,01..   /l(_fo   6<:n+t-12.   I




  13)  fa;       cr;.{/}rlG:, Q}_;/-/AJO ...t/V! /1.,()?~_,,...;N'/-3 -77--l/<6t'7u1! ~Al'>/O
  A~IJ    .L-   ;J£p/1/1 O,J 5'- 31- pz, 2-L, //,./£.f~/Z. /o/l 77-r/l.etrr_/fA> t,../Zl-{
   C4-uFc/f/{<~ ;J<>vrtx C4 r0                r
                                            ni/l. OJ)/e:rr/Z;;_E:-·c~Jt-P ..A-'1e- ?O ilt
    /4.dJ:_Y) <J<.,rr-·o~ 17«-"°S-Tc'f} (Jow,,.J ;::),,(_c <;Jl..,A-/Y) / ~ Cr'fvt JC:l? /7--'1c S¢,0~
    O('U'A a J ::J;.,,v /w.'t? .:vr c o.rrM< § 20 .o<J. £::r It(.!0 __i::.r ,,7.,../c""·C./Jvt f r::-
      o ? /V'Y /J'1z-A ,£"✓Y--JAy__fet7-£i7 tcr( Y, rtLc· ,n,r 0£'.1a : : ; r . ? ~                   ;;,>
                                        {h-~c-7-or- c; )
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           77&-      /.).£, /Ul-7.J.f 70 -5'1::0\Jtf£-?V/lAl1:?) #P .t2J'7/4J.r.rt'{? f5CT:.•--N-f~ ..f

           l)M~/7~?!17,v Ar_o,v-r#--1? ~/1,/J~oJJ /}ti</?tf::) cer.r /CCG/:ffr
          /}'v,p611),A.. /~71/7;JA,,(,   z~c~-i ; ~ u ~ ~ " ' ~ ~ : f ~~ c l / l t z:J

           /?i)~ fJ./4l47!Zl lflllf 7,#<'       .5J:>?vl/A.·,LI.J o,C tf'/4:Jo;)F lv4-.r ~ / ¥ I t ~

           /J1 US ;,,uo;UC       {£/c~(.y/V~ r,,<_vt'                    -/7--rt:r-r£   17lA~-m-t-vJ l'M-,)16-,,-

          (),U~n.,y<A         ~11/J(.t'(fc_y.. ANJ:1 ..ro2( Wl'/tVJ~ ;?d<.l,v,P Gf.lfC,y~
                                            /     -;-

           A    ;(.µCe:::C Qn:; ~ tt,Ce-~.£}14 <:J9C/J,f /1,./,t? CcJ<"Cec;;;-#/ t&f/?~c C-/I.r

                         ~ -r7,1Aoq-,rt-;..J/?117'o.,...(j o,C
          /JN;,6,,..ro..Jr                                       y~.--ar _/-MI/0,111'~ ~        /,Jll('o-ry;nuc/7

        /I /(otf"~#a f l ~.;IW.!7/4 ~ -?o                           ~o-.Jrµur:10 r".£C~77~t-YC{

        Cq4,,(V#~ 12 Ce---C~        fcff_4lf.~f ~ ~ H A A'd /4'V'./J                            /.;tf,t?e;t'_

          OfC   (,f:'7n-7(   .t:r J r.Z::~l u/S-0-Ar.11fl ~ f f ~ M , / 1 & ~_p-;rr/40...-Y~.r

        /1&0 W-4'"'>J J- .. t-.1?/bJt'P /frJ'?f~ foMrf-,,,} /?rCowM ,#,I _z;::;/~rn
         /J?ld"wt/J/!TC v-J#fCc u~?/Aj'{//c-,;J ./-~,/J,//J/~/U.J;:;-c::y~ c:>A
        gcr-ve ar.r/CEJJ?f::-cr/dc . .Mt s::::n-r~ /7~~~ :771'1:?4 ~
        txt1c~~ uH/ a£<- v~?l 1:r b!ZP~ ov n1C-A-J.t:J p-~..c-A-6 /rlr
                                                                                                     1
        k-rA~lf..y,tPf"/ c£,?(;1Al'~1,Y/1.r~l?..r r. f / r r Ntl:rJJ lb                   J'17)/?,
      -Jlf)  ..£7.5 /lt'o/4c l£tfecY fa~~£ w/fr <::c-ef~ -7V -77?',,co:m:"¾J
           f e n ~ c .£✓.:? aCP«<?f7t~/Va J'7K~~t"C.6'e~~ m~.tf!· J'/.-fi::>c./{=J'(_

                                    (!/Jtbc-cf- o;C'-- 1 )                        N~/7.vJ-<'.9 c-        ~-
 Appellate  Case:
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       (/}'[ e~:"v<.). J.t-~· o, -2-~- 2..



  M    /V~       J~~~u _fe-wffee- ~7C,, ,11-,h?                    ~v          77~ o£c ??~ocr/V'/.~ ,,;-,.

 A k'i:fowtx. .1«r.. A,O         OP?n;-7( /(t:?J.Ja,,J f f ~ /7cG,,,-1u.,1 ~./?frr ~~o..cc ~ v~-XG ~

~o 11?:X J?rc::P/4,J /,A/Jr '/'CJ pe/"l"'Y' ~#J .;UtJf/'-'f9(1 _/hr,::,£ P'p;:? ,/l,<;47~ e-#'1clAl6.

r?-k-t ~O?Z£47~ ~ ~ ; -~--/0:?v" -?v.?' ..f~cr: -77#1?"1' Jl"?c c P ~ ./o/, pt




                £   ,, <:../~/Cfl- fe:>/'/n:71 t?,/,?"vCef? ,tf'/!c;,~~   6   e-~ <-0 "1/ 6-7cJ-./r 70 ~«e

    -P:rC r l?ec.f..4-,~~Co~ 4-v'IJ ///h/~ tf'cl1n;,,.,~ )C,-,,owl'-EZJc:;;.e- CJ? 17K ~

   f/71-,1?-?7 T,,,./7:-7f<!'~ Pe-°Lt-~C-'T /W/l5U"1-1/T-7'b              Z8     1/r.r. ( • ..91/ r'/6   /   l/;,-/'1'7~,?(_
                                                                                                /

     l?c/1/l'ft,r f l ~ A?'Z.._,J~/1.7 ~/t?r T/4'r' /4,...-ce-G~ £.r pe_we- 4/\/lf?'                co///?C'- c::-r


                  (:"X cC..h1 rc-0           7- ,X- 2o   zz..   7.&c-c?c~//3-//;¢=/ZL-
                                               /,J~                           L c <:'9-~A/




                 fj-;=:1/01. /l.Fc.E£t1~                  /-I&~~ o~£c01..                   ~Lr---rr
    (/elf/{_~ rc&zno/11,Y                       r   r,q.t):7 ,-ro ;-rl/ 4t7tP01L          ~r# ?7/-r
    ,:ec.   (,o..J £J.c       fa r:a ~ r 1 /J/-fd,6-I                              .        .
                   ~g9,9ct~~~
            ~~"""'v-
   ~                     -           ,       #~

         ~~-~- ~
                                                                                                    f,,1~t1vd 12)
                                             G,~~) (fJ~rr9-"e-CJJP~cfAPJ6'J-
 JJ.~v  .£,fJ/_7,/40 wrJ -d:t.-57$ oo
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  (:fif"<(" /\A'.l   -ZZ--05-zz 't..                                                         ( €X#£7.1£r-B-J I)

     JJ J,/C"~ ~ r X ~/Cle}' #/15                                        ,;:::-~CtP,U~JtJ:J .70 ,tJo /f/...r

   7? o /7°A./t'3;Fif /Ji0 coMf~


   1$.) lf6 fi'IU{,if7 o"'-T/(JfR/../T~--S#VP M'Jie"XCFJ-Jc- 77«-                                            7ef7J~v.Jy
     /lcl,o/ll)       ~

   3:)dJ1111J&1 CJ~Cr¢ J'?'Jlf/llf'/ ()ocs ~P~J.Jme-?-VJ r-H< ~ r~✓-rr 1/r
   1146(,i€/l ~m ~ d-tJl:£ri'.£,./1, :£ f 11/UJ £ 7?-t'7!fc'Y/7e?JP Jr4P;4"'l!J r/-rilf/r
   £ /D0 /ffe/ f ~ p f f ~,,w(JIVl;tc=-CJ)A.CJ .5e1jjrtJoe/l//Jro 4-,,,p ~ ~ l f Y
   f ~ £ d d , . n - ~ ~J-qy,,,< fi:C'.r;//'JJ ~ ~/b'ffi'/lf'C_ ~ r/l?,:;:::;; ;eJ- ,/J_Jl_; 1 ~
   frv? ...? <-r1-rvr Jvv/o!?Y-4 ~,1AIV{""7'tetd'(/}f <9?°/IAY·~/~?rf~ / /'J;,1,//7 /-,...,,,
  tf,,6~lcy~ /Kf ~#/o OfJJ,:11!.Lt/.[/~c~w:ys.m~/ZfUJ/l!:>~t? /"
 f :-0vcr;,<.e>%)f .vt;p.t/J5 ~ £,,-n A£6#t;/)./IJ /K a,.q&vl'f'-~ r✓CJ /r-C"'? tle?.-flf"1.
   Vetlr u/f~
 tt) ll.ll.,XY(/jm1'7,VD1-,µ />14/llfY cur.t.,,'Z,,-(.rJK /le~r ).a'q,(r"~ fteo,t!_a) ,11,cv..ctwI
  S"tAM~IVl,, r..CP1rt Ptf.£11 a::=-k"'C~/i MrJ w«"""=•.r ler..r, /h/(1 /ICC                   itt;=- WJ60r ~      -N QtlPOL
  ,a   f'MCt:cll ,v..z.1H 72'-r<tt"r~~- t..L,,;,-.i'l..! r ..-vE\Jt-~ G~A J't~C>Jn                .rvrvi""~s/~o r       f<JlP
   I# p,t,t7Clf-l" 17"!'f!J',1.J9 lt'rfTAtfT-t?!J n--rt~ ,r,~ ..z;:, ~~ r✓-«-R;r.rr-~tJr.<,J PMfi '1tf Lt
    Tl.£0.J..fA--,,,..,....   (;e;r. A$!9?ifj       wr-r£'Q;J:. ::Cr pf-· cze:-A·r ~ A./.ICf:.-P"o.:,( c_{~7fl(J.,Y~ .;;Jv
     :t:=/n-?   .:C< J"'b ~rr lflbnc.e-a- P /k?M_t;/4 /lrct--Ylrr w..CrHu Z<f lfo\Jttf ~ n-tc- H t ~ ,
    If/? :O~~                 .rVOr/~~ •            U4A. • 'IC/ -fJ-(q   w.:t7" 1/A(s?trc"l) ,4,1p /j,£'/lf€!7 t , y ~ 1-f,/o

     IYJ¥.CE'/~r.r-TY:J                 /,l~c."lJ   n/r:Jt~'fl:,? v~.1'i'? ~ rvc./.../- ~

  ft) 1/fo
       1/"-'
             /f,1/rA.,Ct.Y/:h~u• ec--- -
                       ' f c--~"    I h.J '17-iJ,-r/,k-°CC...~.I .£-P/t£:JCv1?-1P •VD
                                              "-'-<--'(:                                                        '114$17?:....,~£
       Vt!lrJ4rz.,.-, M.o,F/4,,.l-~./.f-NJ £ #W.,.£.oi5Y-t"C1t0 70 ff/r/,/i-n(l.;t:rb VmrJc(,Y~~~Jl
       Z:: /7£4,..;.r"<i>~ ~ f e e - ~17~/n-'">Mc-A Y<:~lYC/1 /'37 __r.,,,.,'>lo.N.f,,/-hlt? 7 ? ~ £.1:J
      8«-~ Ma.>-.Jf) 27-'i?.-,Y..f T£'v<.(?""..£ /,/q.;:? .,.,-,y;y;.r,rr/ ~ Fr'd 4,L)o,/(:<aJr::f,,.IU(};? ,P;
     ! f t ~ o1. ~ £ f Y J /?c:A:?--7?> w~ /AA'./ 6o£:J6 CJ,,J.,/-f"/4 J:f'b ~{. f/" u/Y' F/.JYM
    /Ir<,4-J (_.;),,r,-i:~ < r>K/-k-J?/tM, ~rt ':JC ~/f- r:f,,.JtJ 1-lr /,lo "-r,,...,,,- #O<..J.J,rf r,-vr/fv',7✓
    /if.I' F ?7-"'r/l ~<-~ 8r-<.~.r~J..fr--r 4 c ~ /-f'lr'J ~ c.,YF-"' -70 ~ r'7'71.Y>~( JD
   / 40va/d Af6" .£NTV Cu,r-£=-v(. /1:;;-' oqr•t f'frE(':0/ rVO~
 . j;)~ v£t_J ;J/l.aw._J ;:.t:5 7~o,o
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  . <:.,1J-e-AO- l.2 -0 5 - 2 c..'7.....,


        ,,) JI/, ,-~ltY 1/-"!f Ocwfc~//Ct:-k.I,-V _,,,,c-17,r/l~M c1(C nn.r
        Ff/1I;;-·1-tr7'""/ZC4 ay ,:,/ro,.Jc orJ G-'1-z_e2-?.., 4,,.1tJ /?~~s /VJT ~ref'"'icl~                   .


       .:erµ /--l.£j               /,h--,:t-J?..:;:/~ 11-<-7:.,tf...D - •


        -1) J#                tt fY l/.t"r-u1t'CJ ~tr w£r/YITf0 ~ J[,lso s:~
                          ~,1-1

        A"'P f,;"'t:7/f'AidNI '3~~cfD v-6 J14~Kfl'IIV€Y, /,f.J/1 o? C.<JvrJ'<:" ~~t;Y
       /)01:,)'1/'! IJ01..,v.Mt~y'o               r1t:.A.Vfll'f'y; WI~£ J~/J/_J '1J ilfGt¥'Jt)                      (Jl,,{fT:1.L(]',J ,4 r

       r.-1£ cL~s I-Ir /h-71M Mc ..r,4,,v/c""1.sr~ ,P!4clu <o/--/ A..J .u-rrxco4
       Fi-fCC VF yco-n✓/7,ir~o~ /r-,-?P/f:J~P-~· .r~?rCt--o_£f--ctose-,
           ~'-fr4,/o m#l-/l (fJ ·5''4/f' /-/2;: au (-I1X:<J,./f0 s:/o ~z:;v,,./t-YOJ!T£d                                             (r


           Jv1r~/16 t--/c~ (.,./,,·{£.c/,,,/ £r/4otJtr-Jf(.(/PAbflk7l t:£.-e; e:-vr-.1 fo .£
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        yJ !f/4 pvr/4.( f;'y poa ~ p~/Y/€W~77K~c11/vJtJMJ/&t./fTt?~
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 DISCIPLINARY REPORT
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            (FACILITY)
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 Case No. )      t-oS ,..l 'Z.?..                      Date of Alleqed Violation: 05/31/2022                          Time: 1930          AM. /P.M.

 Date This Report Written:                  05/31/2022                                                                Time:        1950   AM./ P.M.


 Name of Inmate: Brown                                David                              No.       57800                Cell No:Cl.145
                        LAST                           FIRST                            Ml

 Duty Assignment:                Segretion Long term step down


 Alleged Violation of Law or Rule (Identify by Code No., Short Title, and Class) 44-12-306 Threatening or Intimidating any
 person a Class I Offense




FACTS: I CSI Vetter went over to the C2 side cell 145 to speak with resident Brown. Resident Brown had a complaint about
the shower. He had been told to shower in shower 6 or he could not shower. I told him I would inspect the shower to see if it
was in bad shape. He did not like this answer and stated," I could spit on and head butt staff for this." Since no one is to
threaten staff directly or indirectly I Therefore am writing resident Brown for 44-12-306 Threatening or Intimidating any person.
A class I offense.
                                               (Attach Additional Sheet(s) if n~    ry)
 Staff Witnesses:_ _ _ _ _ __ _ _ __                               (Signature)~ ~ .7r
 COi McKinney                                                                                      Donna     K.~                    CSI            S/MfT
                                                                                                   Printed Name and Title of Employee Wri ·

                                                                             Approved by: _ _C _ _:c t~-'----~a_..., c _ / , ~ ~ - - - - -
                                                                                          (Shift Su


  I declare (or verify, certify or state) under penalty of perjury that the foregoing is true and correct.

  Executed on _ _     ~ ,/.. . J,~1/ --=Z::;..2..
                                              _____                          Signature,_ _:~:!,,,,,,,;,;;;;a-ee~c.M
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  I received a copy of this report on _ _ __ _ __ _ _ _ _ _ _ _ _ __
                                            (Date)             (Tirw.)                             (Inmate
                                            c;_r---''5'_'.'.;'--_ _ _ _____,('...........,S{-=---
  I served a copy of this report e,-r)).., __
                                  (Date)     (Time)                   (Signature of -&n


 Technical and clerical errors in the writing and I or processing of the Disciplinary report shall not be ~
 prejudice to the inmate, which is the burden of the inmate to provide. Pursuit to K.A.R. 44-13-707. H,




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                                                   DISPOSffiON OF DISCIPLINARY CASE (__                                                                                                       )
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INMATE NAME & NO # BROWN, DAVID                                         #57800                                                 CASE NO. 22..05-222


                                                                                  TESTIMONY
Date & Time: 06/30/22 0530 hrs.                          Hearinq Officer: CSI Marlev
Hearinq beqins: In Person
H/O reads report into record , reviews summons, time limits of receipt, and witness list, all of which are in order to proceed with
hearinq.
Offender sworn in, acknowledqes that he received a copy of the DR and Summons
H/O asks offender for olea to charaes Offender olead: Not Guilty
H/O receives anv motions from offender: None oresented written or verbal.
H/O reviews charaes or amendments to charaes: Charqes stand as written
H/O reviews evidence and/or video: @1900 hours offender take to shower by the COis on duty. Appears to refuse shower #6,
escorted back to cell without incident. At 1912 back in cell. At 1914 CSI Vetter at door, no one else present. At 1917 CSI Vetter to
officers station, at 1918 CSI Vetter to sally oort.
Statement: I did not threaten anyone. I told Vetter that I didn't do anything to get beat on a shower. I said I didn't spit on staff, hit
staff, cuss staff, kick staff or anything like that to be deny a shower. She said she would inspect the shower then just put a
grievance in and she would put a work order in. Just because I wouldn't stand in a foot of sewage water left in the shower. The
only person at my cell was Vetter. I never saw McKinney who is listed as a witness. I didn't threaten anyone If I would have it
would have been the officer who took me to the shower, not her. She has Iona standinq issue with me.
CSI Vetter sworn in.
Offender: Did vou co to the shower and check the sewaqe in the shower?
R/O: No                                                   ,, ;     ..     '
                                                                                                                   ~


Offender: Did staff tell vou I threatened vou?rf'lff!Vt/L .>ltlll 0 10 rrnr:rr€lLKw.F r"ll1Zt~Frv!J 7117-,.,,,;r 511€" f'/-J l:-0 YFJ
                                                                                                                                          ,(




R/O: Another staff member said vou did when I was' standina at the door.
H/O interjects and advises that he has received information from COi McKinney that she was in CCH control that day and was
listening in on the intercom. H/O officer verifies with CSI Vetter that this is the staff member who also heard the threat to which the
answer is yes.
 Offender: Staats and Stevenson were workina that niqht and you don't remember who told you.
 R/O: No
 H/O advises offender to keep line of questions regarding the charge brought against him. The cos that were working in the cell
 house that niaht are immaterial as they were not oresent when the R/O states the threats were made.
 Offender: What did they say I said?
 R/O: It's not what you said to them, it's what you said to me.
 Offender: Did I threaten you?
 R/O: Yes
 Offender: What did I say?                                                                 ,
 R/O: It's in my report                                                           t/1\f\.,T
 H/O reads aqain charaes brouaht aqainst the offender.                  r/lJ '(('V
                                                                r,,.t'' . ..
 Offender has no further questions for R/O.
 Offender wishes to call COi Staats and COi Stevenson .' H/O denies this request per KAR 44-13-403(n)(2} as neither of these
 officers were oresent at or near the cell durinc this interaction where the alleaed offense occurred.
 Closing statement: I did not say that, McKinney didn't hear me as I had put toothpaste in the speaker and that blocks the sound. If
 I had threatened staff I would have threatened everyone. Look at my history, I have tons of staff batteries but I'm not like that
 anymore. I had an incident with her years back and she's been holding a grudge. When she came over she didn't do it to resolve
 an issue. She qave me orievance and said she'll out in a work order.
 H/O reviews the facts of the case, based off of R/O testimony and previous COi statement that she was listening in the intercom,
 H/O finds the offender Guilty.
  H/O advises of sanctions
 Sanctions: 306-7 Davs Dis Sea 30 Oavs Rest. $20.00 Fine                            ,KJLL) _,_,_ ~ ,r-~ /~J r"dL?r"



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          Appellate Case: 22-3183              Document: 010110785994                    Date Filed: 12/19/2022             Page: 33
   INMATE NAME & NO # 57800                 BROWN, DAVID                                    CASE NO. 22-05-222
                                                                                                           ,                   .        .

   D Witness(es) Sworn In/Affirmed                                                                        r cX~-1-rv
                                                                                                          \_

   Witness(es} Testimony/ Cross Examination (Attach Testimony)


   Closing Statement(s): (Attach Arguments)

   If applicable include inmate's testimony/ arguments on restitution


   Sanction(s):      306- 7 Dais D/S 1 30 Dais Rest1 i20.00 Fine1 lmRosed C/S
             -
             --
   Reason for Sanctions:                  Sentence Guidelines


    Disposition of Evidence:                              N/A


    ~ Inmate advised of right to Appeal,                   Inmate Initial Advised


    "·- ..... 'NG OFFICER SIGNATURE              CSI Marley                                          DATE·       06/30/22



"- ~APPROVED
    FINAL ACTION BY FACILITY WARDEN:
                                                                                     0    REDUCETOSUMMARYJUDGMENT
    0 REINSTATE DISMISSED CHARGES; REMAND NEW HEARING                                 - restriction from privileges up to 10 days
    0 AMEND THE CHARGE                                                                • fine notto exceed $10.00
    □ DISAPPROVE/DISMISS                                                              - extra work w/o incentive pay for no more
    0 REDUCE THE PENALTY                                                                than 2 hrs/day no more than 5 days
    □ SUSPEND ALL OR PART OF SENTENCE                                                 - work w/o incentive pay not to exceed 5 days
    □ REMAND NEW HEARING                                                              - restitution not less than $3.00 or more than
    □ CLARIFICATION OF RECORD                                                            $20.00

    Comments:

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                        ~E&.{!~ATURE                                                              DATE


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                                                                                                               DATE
    I served a copy of the Hearing Record

            /d          Jl.O~                                                                                   -:J_///7}
                                                                                                               DATE
    STAFF SIGNA,~E
                            II
    Technical and clerical errot~ in the writing and/or processing of the Disciplinary Report shall not be grounds for dismissal, unless there
    is substantial pre·udice
                      J      tot e inmate which is the burden of the inmate to prove. Pursuit to K.A.R 44-13-707. Harmless error; Plain
    error.
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Appellate Case: 22-3183              Document: 010110785994              Date Filed: 12/19/2022               Page: 35



       El Dorado Correctional Facility
       1737 SE Hwy 54                                                                       Phone: (316) 321-7284
       P.O. Box 311                                                                           Fax: (316) 322-2018
       El Dorado, KS. 67042                                                            www.doc.ks.gov/facilities/edct


       Jeff Zmuda, Secretary                                                                  Laura Kelly, Governor
       Tommy Williams, Warden




      TO: Resident Brown, David #0057800                               DATE: 8/15/2022

      SUBJECT: Grievance over DR hearing                               FROM: UTS B. e·uchholz


      FINDINGS OF FACT: Resident submitted a grievance over the DR prodess hearing for case
      #2022-05-00222 C A for threatening staff member. Brown processed to claim tliat he was not
      allowed his Due Process required by law. Brown describes the DR process by using phrase that
      describe his opinion of the purpose it and what he believes to be justice about it. He called the
      DR process Biased, Fake, Counterproductive, Rubber stamp appeal process, Retaliatory tool
      KDOC official/staff use to punish prisoners, A fabrjfi~ji,Q.rl record creator, A give staff impunity
      process, A Money stealing scam, A ignore KDOC re"eitc'es when they assist a prisoner ~ s . A
      corrupted process, A punishment process that violates US Constitution, Kansas Constitution, and
      KDOC rules and regulations as well as policy. Resident Brown claims that CSI Vetter wrote the
      DR only in retaliation after she was sexually inappropriate toward another resident as she allowed
      him to masturbate to her. Brown stated that he witnessed her engaging in unprofessional and
      sexual behavior to encourage the other resident's behavior. He claims that he received a DR
      after he tried to address her actions. He claims that Vetter left out her action on the incident and
      only listed his part of the conversation which onll happe11ed because he was provoked. Brown                     f 0 ,.J />I
      stated V~tte~provoked him by refusing to pick ur,!ffittm66--'ff the floor of the cell house.   1'7e
                                                                                                       claims t, vft {lvJ
      that he_!bJ:ey/ the letters at her, but he states that he slid them under th~ door at her to mail them. / 11.ArfOf""I. ~~
      Brown states that COi Anderson picked it up instead. This made Brown snap;, he did start                  v-'     i..f!J-·
                                                                                                                           1'"7--:
      cussing her out after this using very derogative terms to describe her as a person. Brown claims              <.fP'-"         ~?
      that he received three more DRs from her over the next couple of weeks. Th\s was years ago                        ,.,,gty}J
                                                                                                                             1
                                                                                                                               ' 'fl.1
      and Brown claims that she is still holding a grudge in 2022. Brown claims that during the hearing           I (Jrf"'h ·
      staff lied. He claims that Vetter is claiming she lied as well as the hearing officer Marley. He
      created a false record of the hearing . Brown claims that he documented the hearing with 12
      pages of truthful facts. Brown claims that the DR appeal process and Grievance process offers
      no relief to the complaints. He claims that the DR process is corrupt, biases, and illegal. Brown
      stated that he wv,..not threatening staff and if he was it would be when he was told to stand in
      sewage water or ctenied a shower. Brown claim that he DR should have never been approved;
      found him guilty of it; and overturned during the appeal. Brown ends with that DRs are unjust.

       CONCLUSIONS MADE: At first glance of your grievance, it was first thought to be a PREA issue
       and need to be reported to EAi or the PREA Compliance Manager. Then I realize the incident
       you were talking about happen years ago. I am not to sure why this is relevant to the issue of the
       DR, and you cannot grieve something that happened several years ago. As I looked back to see
       when the last time Vetter wrote a DR on you was February 17, 2013. This make me believe that
       if Vetter was holding a grudge against you that over the next 10 years you wou Id have received
       more DRs from her since you have been at the facility four out the 10 years. If you are grieving
       the DR, process this needs to be done through the DR appeal process. In your grievance you
       claim that even that is corrupt and biases. I would also encourage you might refrain from using
       derogatory term when addressing other people. Yes, staff must remain professional in their
       interactions with resident, but your demeanor can affect the ability to maintain the professionalism
       very difficult. I would like you to get to the point of you issue without adding all the extra
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          El Dorado
          1737 S    Correct1onal
                           .     Facility
                 E Hwy54                                                                  Phone: (316) 321-7284
          P.O. Box 311                                                                       Fax: (316) 322-2018
          El Dorado, KS. 67042                                                       www.doc.ks.gov/facilities/edcf


          Jeff Zmuda, Secretary                                                             Laura Kelly, Governor

          Tommy Williams, Warden



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         information             Sta can
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         ACTION TAKEN: No fu         .                   .               .                         ages of
                            rther action required at this time.




                                                                             . Buchholz Unit Team Supervisor
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                                                                                                                    (Q)
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                                                                                       ( txt-1£fJ.fr-                fl-n)
       El Dorado Correctional Facility
       1737 SE Hwy 54                                                                             Phone: (316) 321-7284
       P.O. Box 311                                                                                  Fax: (316) 322-2018
       El Dorado, KS. 67042                                                                www.doc.ks.gov/facilities/edcf


       Jeff Zmuda, Secretary                                                                       Laura Kelly, Governor
       Tommy Williams, Warden                                            RECEIVED
      Date:       AUG 2 6 2022                                             SEP o7 2022
      TO: Brown, David #57800 B1-122
                                                                  DOC Facility Managt:rnt:fllf\i t::c1
      Re: Grievance Concerning: K.A.R. 44-15-lOla {d) {2) Grievance Procedures and Alternative K.A.R and/or
      I.M.P.P.

      I have reviewed your complaint along with the response provided by UTS B. Buchholz. Based on my
      review, I feel no further action is necessary. According to KAR 44-15-lOla (d) (2}: The grievance
      procedure shall not be used in any way as a substitute for, or as part of; the offender disciplinary
      procedure, the classification-making process, or the property loss or personal injury claims procedure or
      the procedure for censorship of publications specified in the Secretary's Internal Management Policy and
      Procedure. The grievance system shall not challenge the decision of these other procedures.

               However, the correct procedures are:
          ►    Disciplinary Reports-K.A.R. 44-13-701 et seq.
          ►    Classification Decision Making-1.M.P.P. 11-106 section V.
          ►    Property Loss-K.A.R. 44-16-102 and I.M.P.P. 01-118
          ►    Personal lnjury-K.A.R. 44-16-104a and I.M.P.P. 01-118
          ►    Censorship-1.M.P.P. 12-134
          ►    Custody Classification Appeals-1.M .P.P. 11-106 section Ill B 3

      Furthermore, as stated in K.A.R. 44-15-102 (G)(C){l): "If the warden's answer is not satisfactory, the
      offender may appeal to the secretary's office by indicating on the grievance appeal form exactly what the
      offender is displeased with and what action the offender believes the secretary should take. The
      offender's appeal shall be made within three calendar days of receipt of the warden's decision or within
      three calendar days of the deadline for that decision, whichever is earlier.




                                                                     Tommy Williams, Warden
                                                                     El Dorado Correctional Facility
      Cc: Offender
          File
          UTS B. Buchholz
     Appellate Case: 22-3183         Document: 010110785994        Date          - FIl- ~ Page: 38
                                                                          H£flt:""
                                                                    ( 0Filed: 12/19/2022
                           APPEAL OF GRIEVANCE TO SECRETARY ohoRREcTmNs


Inmate Name:        Dt8 \) 1 D 01< wd   C)                    Facility:   Et /Jo fl.ADO cof?i<,                      FAG
                                                                          J),q,cz? 8 -11-~z..z..
lnmateNumber:        457'S <X2                 Grievance Serial No.: AJool ~ (i,J:Uc.rl (t.Mer.EfJ ( ~}

(Attach grievance report with Principal Administrator's response or explanation why Principal Administrator
is bypassed.)

MAIL TO:        Kansas Department of Corrections             Date Mailed:   _,_7--'-/'--
                                                                                      - =Z;..o';:; --'Z&:..=l......_.(~Q¥-)-1----
                714 SW Jackson
                Suite 300
                Topeka, KS 66603
1                                                                                     . f t.de<




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                                                    e completed and returned with 20 days)

If applicable - Confidential File No. _ _ __

Date Received in Office of Secretary of Corrections: _ _ _ _ _ _ _ _ _ _ _ _ __

Date of Final Answer: _ _ _ _ __ _ _                  Date Sent to Inmate: _ _ _ _ _ _ _ __

Finding of Fact:
                                                                                             RECEIVED
                                                                                                 SEP O7 2022
Conclusions Made:                                                                    DOC Facility ManagementArea



Action Taken:




                                                                          Signature of Secretary of Corrections

                                            For D.O.C. Staff Use Only
Type of Response (Item 6b: Code         01, 02, 08 or 09) _ _


    DC 090, Effective May 21, 2014
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                                                                                                             Phone: (785) 296-3317
                                                                                                               Fax: (785) 296-001 4
714 S.W. Jackson St. , Suite 300                                                                                 kdocpub@ks.gov
Topeka, KS 66603                                                                                                  www.doc.ks .gov
                                                 Department of Corrections

Jeff Zmuda. Secretal)                                                                                        Laura Kelly, Governor



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September 7, 2022                                                 ...., r /l/"A'1-_,v::   .2-!J'b ;r-1,.,,,,,,, oJ   ro --.1,-Z..9 1t
                                                                   tvf ~Cl1/
TO:       57800 BROWN, DAVID

          El Dorado Correctional Facility

RE:       Invalid Grievance

I received your correspondence that included an unnumbered grievance.

KAR 44-15- l OI (a)(d)(2) The grievance procedure shall not be used in any way as a substitute for, or as part of, the inmate
disciplinary procedure, the classification decision making process, the property loss or personal injury clain1s procedure, or
the procedure for censorship of publications specified in the secretary's internal management policy and procedure.

Your complaint is clearly about the inmate disciplinary procedure. KAR 44-15-101 (a)(d)(2)
prohibits use of the grievance procedure to address this concern.


Sincerely,



Darcie Holthaus
Corrections Manager, Facility Management


cc:    Warden Williams
       w/attachments
Image: SOCRESP
       w/attachments

                                                                                                  RECEIVED
                                                                                                      0        2 2022
                                                                                               WARDEN'S OFFICE
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